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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


 In re

 CUSTOMS AND TAX ADMINISTRATION OF
 THE KINGDOM OF DENMARK (SKAT) TAX
 REFUND LITIGATION                                        18-MD-2865 (LAK)

 This document relates to: 18-cv-10119 (LAK)              ECF Case
                           18-cv-10122 (LAK)
                           18-cv-10123 (LAK)
                           18-cv-10124 (LAK)
                           18-cv-10125 (LAK)
                           18-cv-10126 (LAK)
                           18-cv-10133 (LAK)
                           18-cv-10134 (LAK)
                           18-cv-10135 (LAK)
                           18-cv-10136 (LAK)



                           DECLARATION OF MARK D. ALLISON

         I, MARK D. ALLISON, declare as follows:

         1.      I am a Member of the law firm of Caplin & Drysdale, Chartered and am counsel

for the following Defendants:

              a. The Bella Consultants Pension Plan and Roger Lehman;

              b. The Sinclair Pension Plan and Roger Lehman;

              c. The Mueller Investments Pension Plan and Roger Lehman;

              d. The Green Group Site Pension Plan and Roger Lehman;

              e. Blackrain Pegasus LLC Solo 401K Plan and Doston Bradley;

              f. Pegasus Fox 23 LLC Solo 401K Plan and Doston Bradley;

              g. Delgado Fox LLC Solo 401K Plan and Doston Bradley;

              h. Gyos 23 LLC Solo 401K Plan and Doston Bradley;


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           i. The Joanne E. Bradley Solo 401K Plan and Doston Bradley; and

           j. The Oak Tree One 401K Plan and Doston Bradley.

      2.      I have personal knowledge of the matters stated in this declaration.

      3.      Attached hereto as Exhibit 1 is a true and correct copy of the Complaint filed by

SKAT against The Bella Consultants Pension Plan and Roger Lehman, on May 4, 2018 (SDNY

Dkt. No. 1:18-cv-10136-LAK; S.D. Ohio Dkt. No. 1:18-cv-00309-MRB).

      4.      Attached hereto as Exhibit 2 is a true and correct copy of the Complaint filed by

SKAT against The Sinclair Pension Plan and Roger Lehman, on May 22, 2018 (SDNY Dkt. No.

1:18-cv-10133-LAK; S.D. Ohio Dkt. No. 1:18-cv-00351-SJD).

      5.      Attached hereto as Exhibit 3 is a true and correct copy of the Complaint filed by

SKAT against The Green Group Site Pension Plan and Roger Lehman, on May 4, 2018 (SDNY

Dkt. No. 1:18-cv-10134-LAK; S.D. Ohio Dkt. No. 1:18-cv-00311-MRB).

      6.      Attached hereto as Exhibit 4 is a true and correct copy of the Complaint filed by

SKAT against The Mueller Investments Pension Plan and Roger Lehman, on May 4, 2018

(SDNY Dkt. No. 1:18-cv-10135-LAK; S.D. Ohio Dkt. No. 1:18-cv-00310-TSB).

      7.      Attached hereto as Exhibit 5 is a true and correct copy of the Complaint filed by

SKAT against Blackrain Pegasus LLC Solo 401K Plan and Doston Bradley, on June 8, 2018

(SDNY Dkt. No. 1:18-cv-10119-LAK; S.D. Tex. Dkt. No. 4:18-cv-01889).

      8.      Attached hereto as Exhibit 6 is a true and correct copy of the Complaint filed by

SKAT against Gyos 23 LLC Solo 401K Plan and Doston Bradley, on June 8, 2018 (SDNY Dkt.

No. 1:18-cv-10122-LAK; S.D. Tex. Dkt. No. 4:18-cv-01895).




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       9.      Attached hereto as Exhibit 7 is a true and correct copy of the Complaint filed by

SKAT against The Oak Tree One 401K Plan and Doston Bradley, on June 8, 2018 (SDNY Dkt.

No. 1:18-cv-10123-LAK; S.D. Tex. Dkt. No. 4:18-cv-01897).

       10.     Attached hereto as Exhibit 8 is a true and correct copy of the Complaint filed by

SKAT against The Joanne E. Bradley Solo 401K Plan and Doston Bradley, on June 8, 2018

(SDNY Dkt. No. 1:18-cv-10124-LAK; S.D. Tex. Dkt. No. 4:18-cv-01898).

       11.     Attached hereto as Exhibit 9 is a true and correct copy of the Complaint filed by

SKAT against Delgado Fox LLC Solo 401K Plan and Doston Bradley, on June 8, 2018 (SDNY

Dkt. No. 1:18-cv-10125-LAK; S.D. Tex. Dkt. No. 4:18-cv-01899).

       12.     Attached hereto as Exhibit 10 is a true and correct copy of the Complaint filed by

SKAT against Pegasus Fox 23 LLC Solo 401K Plan and Doston Bradley, on June 8, 2018

(SDNY Dkt. No. 1:18-cv-10126-LAK; S.D. Tex. Dkt. No. 4:18-cv-01900).


       I, MARK D. ALLISON, hereby declare under penalty of perjury that the forgoing is true

and correct.

Dated: New York, New York

       January 31, 2019

                                                     s/ Mark D. Allison
                                                    Mark D. Allison
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                                                    The Mueller Investments Pension Plan


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                                                    The Green Group Site Pension Plan
                                                    Roger Lehman
                                                    Blackrain Pegasus LLC Solo 401K Plan
                                                    Pegasus Fox 23 LLC Solo 401K Plan
                                                    Delgado Fox LLC Solo 401K Plan
                                                    Gyos 23 LLC Solo 401K Plan
                                                    The Joanne E. Bradley Solo 401K Plan
                                                    The Oak Tree One 401K Plan
                                                    Doston Bradley




                                CERTIFICATE OF SERVICE

       I hereby certify that on January 31, 2019, true and correct copies of the Declaration of

Mark D. Allison and its Exhibits were served by CM/ECF or as indicated below on the

following:

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